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           IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION




                                      *
UNITED STATES OF AMERICA,
                                      *


           V.                         *             OR 117-067
                                      *


TIMOTHY LEONARD ELLISON,              *
                                      *


     Defendant.                       *




                                    ORDER




     Before     the   Court    is   Defendant    Ellison's     ''Motion   for


Defendant to Surrender Himself Locally."           (Doc. 58.)      Upon due

consideration, Defendant Ellison's motion (doc. 58) is DENIED.

As previously provided in the Judgment entered against Defendant

Ellison,   Defendant    Ellison     "SHALL   surrender   for    service    of

sentence at the institution designated by the Bureau of Prisons

. . . before 2 p.m. on Monday, July 30, 2018."           (See Doc. 54, at

2 (emphasis added).)

    ORDER ENTERED at Augusta, Georgia, this              ^ day of July,

2018.




                                                         , CHIEF JUDGE
                                                 STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF GEORGIA
